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                  IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION

SANDRA TORRES CARREON,                      §
                                            §
               Plaintiff,                   §
                                            §
v.                                          §        Civil Action No. 3:15-CV-2089-K
                                            §
WILLIE KING and                             §
LOCKWOOD & SON TRUCKING &                   §
CONSTRUCTION,                               §
                                            §
               Defendants.                  §

                              ORDER OF DISMISSAL

         Before the Court is the parties’ Agreed Motion for Dismissal with Prejudice

(Doc. No. 211). The Court GRANTS the motion. Plaintiff’s claims against

Defendants are hereby dismissed with prejudice with each party bearing their own

costs. The Court retains jurisdiction over the enforcement of the parties’ settlement

agreement.

         SO ORDERED.

         Signed October 24th, 2016.

                                         ______________________________________
                                         ED KINKEADE
                                         UNITED STATES DISTRICT JUDGE




ORDER – PAGE 1
